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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, et al;                       )
                                            )
                                            )
               Plaintiffs,
                                            )

 V.                                         j CIVIL ACTION
                                           ) FILE NO: 1:17cv02989-AT
 BRIAN P. KEMP, et al.;                    )
                                           )
                                           )
               Defendants.                 )
                                           )
                                           )

      FULTON COUNTY DEFENDANTS' RESPONSE TO PLAINTIFFS'
            MOTIONS FOR PRELIMINARY INJUNCTION

       The Fulton County Board of Registration and Elections ("FCBRE") and

members of the FCBRE, Mary Carole Cooney, Vernetta Nuriddin, David J. Burge,

Stan Matarazzo, Mark Wingate and Aaron Johnson, (hereafter "Fulton County

Defendants") hereby file this Response to Plaintiffs' Motions for Preliminary

Injunction. Fulton County Defendants show that Plaintiffs are not entitled to the

equitable relief requested in either Motion for Preliminary Injunction filed on

August 3, 2018 or August 8, 2018, for the following reasons:
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                                 INTRODUCTION

      The Fulton County Defendants, in conjunction with Fulton County elections

staff, are already engaged in preparation for the November 2018 elections. At this

late date, converting to a paper ballot election system cannot be accomplished

without compromising the public interest and diminishing the fundamental right to

vote. This is true statewide as well. Plaintiffs' dismissive assertion that immediate

conversion of elections to paper ballots can be accomplished for the November

2018 elections "without any new equipment, software, significant poll worker

training, or additional funding." [Doc. 229 at 9] is simply not true.        Such an

undertaking, especially when viewed in the context of changing a statewide voting

system is not possible without great upheaval and virtual impossibility at this time.

                            STATEMENT OF FACTS

      This matter has been pending since July 3, 2017. On August 3, 2018, the

Coalition Plaintiffs filed a Motion for Preliminary Injunction, asking the Court to

prohibit Defendants "from conducting the November 2018 general election and the

related December 2018 runoff election through direct recording electronic (DRE)

voting units for in-person voting." [ Coalition Pls.' Motion, Doc. 25 8 at 1].

Plaintiffs also asked the Court to order Defendants instead to "conduct such

elections using paper ballots" and to "promulgate rules requiring and specifying

appropriate procedures for conducting precertification audits of the results of both


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    such elections and, to order the Defendant Secretary of State, before October l,

    2018, to conduct an audit of and correct any identified errors in the DRE system's
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    electronic pollbook data that will be used in both such elections." (Id. at 1-2).

          In its Order of August 7, 2018, the Court directed, "Defendants in their

    response brief to particularly focus on the public interest factor - i.e., the practical

realities surrounding implementation of the requested relief in the next one to three

months." [Doc. 259 at 2].          For the reasons set out below, the Fulton County

Defendants request that Plaintiffs' Motions for Preliminary Injunction be denied in

their entirety.

                     Standard for Granting Preliminary Injunctions

          In order to obtain injunctive relief pursuant to Federal Rule of Civil

Procedure 65, the moving party must show: (1) a substantial likelihood of success

on the merits; (2) that irreparable injury will be suffered unless the injunction

issues; (3) the threatened injury to the movant outweighs whatever damage the

proposed injunction may cause the opposing party; and (4) if issued, the injunction

would not be adverse to the public interest. Siegel v. LePore, 234 F.3d 1163, 1176

( 11th Cir. 2000). Injunctive relief "is an extraordinary and drastic remedy, not to

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  On August 8, 2018, the Curling Plaintiffs also filed a Motion for Preliminary
Injunction [Doc. 260], asking the Court to prohibit Defendants "from conducting
the November 2018 general election and the related December 2018 runoff
election through direct recording electronic (DRE) voting units for in-person
voting." As agreed by the parties [Doc. 261 at I], this Response is to both groups
of Plaintiffs' motions.
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be granted unless the movant clearly established the 'burden of persuasion"' as to

each of the four prerequisites. McDonald's Corp. v. Robertson, 147 F.3d 1301,

1306 (11th Cir. 1998) (internal citations and quotations omitted); see also Texas v.

Seatrain Int'l, S.A., 518 F.2d 175, 179 (5th Cir. 1975) (injunctive relief "is the

exception rather than the rule," and movant must clearly carry the burden of

persuasion). In order to be entitled to injunctive relief, plaintiffs must meet the

burden of persuasion on all four of the delineated factors. Piedmont Heights Civic

Club, Inc. v. Moreland, 637 F.2d 430,435 (5th Cir. 1981).

              ARGUMENT AND CITATION OF AUTHORITY

I.    Plaintiffs Are Barred From Receipt of Equitable Relief by the
      Availability of Adequate Remedies at Law.

      The universal test of the jurisdiction of a court of equity to issue injunctions

is the absence of a legal remedy by which the complainant might obtain the full

relief to which the facts and circumstances entitle him or her. Strozzo v. Sea Island

Bank, 240 Ga. App. 183,521 S.E. 2d 392 (1999).

      Here, the adequate remedy available and any Georgian that believes that

paper ballots with optical scanners is a more secure way to vote, is to vote via

absentee ballot.   Absentee ballots are paper ballots and are read with optical

scanners.   Utilization of the existing process, as provided by law,         provides

Plaintiffs and the general citizenry with the preferred method of voting via paper

ballot, yet does not result in upheaval of the state's current process, increased
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unfunded costs, a need for additional poll worker training, frustration of advance

voting or increased voter confusion.

       Plaintiffs have asserted that the "substantial effort" allegedly undertaken by

one elector amounts to election roulette, [Doc. 260, at 14] yet they overlook the

substantial effort that will have to be taken by the Fulton County Defendants and

every election official in the State to produce the requested relief, when access to

paper ballots that can be audited is already available via absentee ballot.

IT.   Because Plaintiffs Do Not Seek to Maintain the Status Quo, Plaintiffs
      Have Failed to Meet the Legal Standard for a Preliminary Injunction.

      The purpose of a preliminary injunction is to maintain the status

quo pending final adjudication. DREs have been used in the state of Georgia since

2002, thus the use of DREs constitutes the status quo. Both the Supreme Court of

Georgia and Georgia Court of Appeals have stated repeatedly that "[i]t is

axiomatic that the sole purpose of a temporary or interlocutory injunction is to

maintain the status quo pending a final adjudication on the merits of the case."

Hampton Island Founders v. Liberty Capital, 283 Ga. 289, 293 (2008)

(citing Bailey v. Buck, 266 Ga. 405, 405-06 (1996)) Hicks v. Doors by Mike, Inc . .,

260 Ga. App. 407, 408 (2003 ).

      The status quo here is using the DRE machines for in-person voting and

paper ballots for absentee voting. Because Plaintiffs cannot meet the prerequisite

legal standard for the granting of a preliminary injunction (because they want
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to change the status quo, not maintain it), its motion for an order for a prelimin ary

injunction must be denied.

III.   Plaintiffs are Barred From Injunctive Relief By the Doctrine of Laches.

       Plaintiffs unreasonably delayed bringing their motions and they did so to the

detriment of the Defendants. Laches arises from a "lack of diligence by the party

against whom the defense is asserted, and ... prejudice to the party asserting the

defense." Costello v. United States, 365 U.S. 265, 282 (1961). Thus, Plaintiffs'

motions are barred by laches. A movant may be barred by laches from preliminary

injunctive relief in a voting rights case where a defendant establishes that the

moving party "unreasonably delayed in asserting their rights and that such delay

prejudiced" the defendant. Miller v. Bd. of Com'rs of Miller County. 45 F.Supp.2d

1369, 1373 (M.D.Ga.1998); see also United States v. Barfield, 396 F.3d 1144,

1150 (11th Cir. 2005).

       DRE machines have been used in Georgia since 2002. After this matter was

removed to this Court in August 9, 2017, this Court offered Plaintiffs an expedited

schedule that would have allowed the Court ample time to rule on a motion to

dismiss and the jurisdictional arguments made therein before entertaining

Plaintiffs' case for injunctive relief. [Doc. 40]. It is now undeniable that Plaintiffs

missed that window of opportunity.




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      The Fulton County Defendants have been readying for the November 2018

election based upon the current early voting timeline.      (Declaration of Richard

Barron at   ,r,r   16, 19, Exhibit 1).   Not only the Fulton County Defendants, but

thousands of county officials across Georgia> who are not even parties to this

suit-would be prejudiced by the issuance of the requested injunction because

election officials have already made critical decisions, expended significant

resources planning for the general election based on the existing early voting

schedule, and the established elections apparatus and procedures.       The drastic

changes-both foreseeable and probably some unforeseeable-implicated by

Plaintiffs' unreasonable demands would result in unexpected resource allocation

and expenditures for which neither the State, nor county governments have

planned or budgeted.

      Under similar circumstances, the U.S. Supreme Court in Benisek v. Lamone,

138 S.Ct. 1942 (June 18, 2018), supported the District Court's discretionary

decision to deny a preliminary injunction and to stay the proceedings." 138 S.Ct.

at 1944-45, where, as here, time is inadequate to balance a preliminary injunction

with ensuring orderly administration of elections, "a due regard for the public

interest in orderly elections." It is now August, and this Court should conclude

that a preliminary injunction would be "against the public interest," as an

injunction would work "a needlessly 'chaotic and disruptive effect upon the


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electoral process."' Id. at 1945 ( emphasis supplied).       Plaintiffs' eleventh-hour

motion comes too late.

IV.    Plaintiffs Have Failed to Establish that They Are Entitled to a
       Preliminary Injunction.

       Injunctive relief such as that requested by Plaintiffs has been held to be "an

extraordinary and drastic remedy [that is] not to be granted until the movant clearly

carries the burden of persuasion as to the four prerequisites." Northeastern Fla.

Chapter v. Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir.1990). Plaintiffs'

Motions for Preliminary Injunction, even when considered in tandem with all other

pleadings of record in this matter, completely fail to present this Court with any

evidence whatsoever as to any of the four prerequisites for the issuance of the

requested injunction. Piedmont Heights Civic Club, Inc. v. Moreland, 637 F.2d

430,435 (5th Cir. 1981).

      Plaintiffs have provided this Court with no evidence as to the likelihood that

their underlying claims will succeed on the merits or that this Court's refusal to

issue the requested orders would cause them any harm whatsoever, much less

irreparable harm. The affidavits of the named Plaintiffs in this matter, submitted as

exhibits to the Motions for Preliminary Injunction, fail to speak to actual harm that

will befall them if the injunction is not granted: Jeffrey Schoenberg speaks to his

"doubts about election integrity" ~ 8 and his "worry" ~ I 0.          Donna Curling's

affidavit speaks to her "persistent and serious concerns't f 5, but also states that she
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intends to vote by absentee using a paper ballot' in the upcoming November 2018

election. Donna Price's affidavit speaks about her concern over the security of

Georgia's system,    ,r 11, but also notes that she has a choice to vote via the DRE or
to vote absentee,   ,r   13. These are not irreparable harms, and they underscore the

fact that Plaintiffs have an adequate remedy. Plaintiffs have strung together news

articles about foreign powers intrusions on social media, white papers written by

hackers, anecdotes about dealing with government employees, and the general fear

about Russian intrusion into U.S. elections to come to the conclusion that

Georgia's election system is unreliable. But, Plaintiffs have failed to support their

allegation with any evidence that the alleged future potential injury to Plaintiffs

outweighs the harm to Defendants, if the requested order is issued. Plaintiffs have

also downplayed the impact of the requested orders and the public interest.

       1. Plaintiffs Have Not and Can Not Show a Likelihood of Success on the
          Merits.

   Plaintiffs have conveniently downplayed the Georgia jurisprudence on this very

subject. Georgia courts have upheld the use of DRE machines; therefore, Plaintiffs

are not likely to succeed on the merits. See Favorito v. Handel, 285 Ga. 795

(2009). In Favorito, the Court rejected a constitutional challenge to the use of

DRE machines for Georgia elections. In so doing, the Court held that voters are

not entitled to have their votes cast and tabulated in a particular manner. Id. at 797.

Plaintiffs assert that various persons agree that Georgia's system is susceptible, but
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this "consensus" is not evidence that anyone's constitutional rights have been

violated, and does invalidate Favorito as good law.2

      Further, Plaintiffs ignore the tests that have been conducted by the Secretary

of state on the DRE machines [Doc. 49-6] with regard to the reliability of the

DREs. Plaintiffs have put forth no evidence of illegal access to Fulton County's

voting machines.    In fact, there is no evidence of actual problems with Fulton

County's voting machines that have denied any elector the right to have his or her

vote counted. Yet, Plaintiffs proclaim that it is now without a doubt that Fulton

County's and the entire State of Georgia's voting machines are unreliable and must

be replaced by paper ballots imm ediately.

            a.     Plaintiffs Fail to Show Substantial Likelihood of Success
                   Overcoming Jurisdictional Issues Asserted in the Motions to
                   Dismiss.

      The "merits" Plaintiffs must show a likelihood of success "encompass not

only substantive theories but also establishment of jurisdiction." Obama v.

Klayman, 800 F.3d 559, 565 (D.C. Cir. 2015).      A party's inability to establish a

substantial likelihood of standing on a motion for preliminary injunction requires


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   In Curling v. Kemp, CAFN 20 l 7CV290630 (Fulton Superior Court), the
previously filed action in the Fulton County Superior Court in 2017, Plaintiffs
Emergency Motion for Temporary Restraining Order and Interlocutory Injunction
was denied by Judge Adams. The Court held that Plaintiffs failed to satisfy the
elements for injunction. See Exhibit 6, Order Denying Plaintiffs Motion for
Temporary Restraining Order and Interlocutory Injunction and for Writ of
Mandamus, page 4.
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denial of the motion. See, ~' Food & Water Watch, Inc. v. Vilsack, 808 F.3d

905,913 (D.C. Cir. 2015) ("When considering any chain of allegations for standing

purposes, we may reject as overly speculative those links which are predictions of

future events ( especially future actions to be taken by third parties)."). While this

Court asked Defendants to focus on the "public interest" prong, jurisdictional

issues like standing, immunity, etc., are prerequisites to judicial action. They may

not be assumed for expediency's sake.

             b.    Plaintiffs' Fail to Show Substantial Likelihood of Success on
                   the Merits of their Claims.

      Plaintiffs cite a litany of alleged "errors" or mishaps, but fail to connect

them to malicious hacking that would result in a loss of their votes. The existence

of evidence that DREs might be "hacked" in an academic setting is negligible.

Plaintiffs cannot show a substantial likelihood that their votes are in danger by

someone attempting to hack a DRE in the face of election officials and other

members of the public.

      In addition to the Fulton Superior Court denying interlocutory relief when

some of these same plaintiffs attacked Georgia's use of DREs in Curling v. Kemp,

CAFN 20l7CV2906301, the following cases have also denied relief to plaintiffs

seeking to enjoin the use ofDREs: Weber v. Shelley, 347 F.3d 1101, 1103 (9th

Cir. 2003) (holding that all-electronic DREs lacking a voter-verified paper record

do not deprive voters of legal rights); Tex. Democratic Party v. Williams, 285 F.

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App'x. 194, 195 (5th Cir. 2008) (per curiam), cert. denied, 129 S. Ct. 912 (2009)

(unpublished opinion affirming summ ary judgment in favor of Secretary of State

on claims that DRE deprived voters of equal protection and due process and

violated the Election Code). Andrade v. NAACP of Austin, 345 S.W.3d 1, 14

(Tex. 2011) (unsuccessful action for declaratory and injunctive relief against

Secretary of State, alleging that Secretary acted outside of her authority when she

certified paperless DRE machines for use by county in recording election votes

because Secretary had the power to balance relative assets and deficiencies of the

challenged all-electronic DRE voting systems, and that under a rational basis

review, the court lacked the power to displace that judgment); Schade v. Md. State

Bd. of Elections, 930 A.2d 304, 328 (Md. 2007) (voters and candidates were not

entitled to preliminary injunction against State Board of Elections against use of

DREs that lacked a voter verified paper audit trail).

       2.    Plaintiffs Cannot Show that They Will Suffer Irreparable Harm.

      "[T]he absence of a substantial likelihood of irreparable injury would,

standing alone, make preliminary injunctive relief improper." Siegel v. LePore,

234 F.3d 1163, 1176 (11th Cir. 2000). DRE machines have been used in Georgia

for decades. When challenged, they passed constitutional muster with the Supreme

Court of Georgia and the Eleventh Circuit. Favorito v. Handel, 285 Ga. 795 (2009)

(DRE voting machines do not violate voters state or federal constitutional rights);


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Wexler v. Anderson, 452 F.3d 1226 (11th Cir. 2006) (holding that all-electronic

DREs lacking a voter-verified paper record do not deprive voters of their legal

rights.) The Plaintiffs should not now be heard to complain that they will suffer

irreparable harm if this Court does not grant them a prelimin ary injunction halting

the operation of a duly-enacted State statute passed in the early 2000s.

      Plaintiffs have failed to demonstrate irreparable harm . Indeed, allowing the

election to proceed with the use of DRE machines does not prevent Plaintiffs from

securing the relief that they ultimately seek (i.e., use of paper ballots that are

verified via optical scanners). This relief is available to each and every person who

seeks to take advantage of the absentee voting process. If Plaintiffs want to vote

through the use of paper ballots, they can request an absentee paper ballot without

the need of disrupting ongoing Election preparation.          O.C.G.A. §21-2-381;

Favorito, 285 Ga. at 798. Absentee voting will begin on September 22, 2018 for

the November 2018 election. (Barron Deel., 115).

      Because Plaintiffs have failed to show that they stand to be harmed if an

injunction is not granted, the granting of an injunction is not warranted. Thomas v.

Mayor, etc. of Savann ah, 209 Ga. 866, 76 S.E.2d 796 (1953). Injunction is an

extraordinary remedy, and the most important one which courts of equity issue;

being so, it should never be granted except where there is grave danger of

impending injury to person or property rights, and a mere threat or bare fear of


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    such injury is not sufficient.   Id. at 867. See also City of Willacoochee v. The

    Satilla Rural Electric Membership Corporation, 283 Ga. 137 (2008). (Where there

    has been no interference with the person or property rights of the petitioner, but

that the petition is based upon a threat or mere apprehension of injury to person or

property rights, it is proper to refuse an interlocutory injunction.) "A showing of

    irreparable harm is the 'sine qua non' of injunctive relief." Siegel v. LePore, 234

F.3d 1163, 1176(11thCir.2000).

          All Georgia voters "have the option of casting an absentee ballot or using the

touch screen electronic voting machines on Election Day." Favorito, 285 Ga. at

798. Plaintiffs cannot possibly show irreparable harm when they may easily cast

the paper ballot they perceive as more secure. O.C.G.A. § 21-2-380(b); see also

Doc. 260-4 at 5 (Curling intends to vote absentee using a paper ballot); Doc. 258-1

at 76 (Bowers plans to vote by mail-in paper ballot in Nov. 2018); Doc. 258-1 at

123 (Kadel plans to vote by mail-in paper ballot); Doc. 258-1 (same as to Luse)'.

As the Favorito Court recognized, "absentee voters 'have not been treated

differently from the polling place voters, except in a manner permissible under the

election statutes' and as a result of their own choice." 285 Ga. at 798.

         Not every alleged constitutional violation regarding voting rights shows

irreparable injury. See, ~ Greater Birmingham Ministries v. State, 161

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  There is no legal authority holding that having to choose between voting by
absentee paper ballot or on election-day burdens Plaintiffs' right to vote.
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     F .Supp.3d l l 04, 1117 (N .D. Ala. 2016).      "Plaintiffs' allegations that voting

     machines may be 'hackable,' and the seemingly rhetorical question they pose

     respecting the accuracy of the vote count, simply do not constitute injury-in-fact."

     Stein v. Cortes, 223 F.Supp.3d 423, 432 (E.D. Pa. 2016), citing ClaJJJJer v.

      Am!!esty Jnt'l USA, 568 U.S. 398, 133 S.Ct. J 138, 1148, 185 L.Ed.2d 264 (2013).

      Plaintiffs' litany of supposed errors and discrepancies neither connect causally to

      an actual hack of the DRE machines, nor prove these Plaintiffs will suffer

       imminent Joss of their voting rights.        Absent evidence that Georgia's DRE

       machines-much less the individual votes of these Plaintiffs-have been

       manipulated in any Georgia election, Plaintiffs fail to show substantial likelihood

        of irreparable injury, especially when they have ample time to exercise their right

        to vote by paper absentee ballots, as many apparently will.
               3. Plaintiffs Have Failed to Show that the Threatened lnjnry Outweighs
                  the Harm to the Defendants and the Public.

               Plaintiffs have also failed to establish that the balance of equities tips in their

         favor. The Supreme Court has long recognized that "as a practical matter, there

         must be a substantial regulation of elections if they are to be fair and honest and if

          some sort of order, rather than chaos, is to accompany the democratic process."

          Storer v. Brown, 415 U.S. 724, 730 (1974). "[A}ny time a State is enjoined by a

          court from effectuating statutes enacted by representatives of its people, it suffers a

           form of irreparable injury." Maryland v. King, 567 U.S. 1301 (2012) (Roberts,
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C.J., in chambers) (quoting New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co.,

434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)).

      In contrast to the lack of injury to Plaintiffs outlined above, requiring the

Defendants to not use DRE machines in the upcoming election would cause

significant administrative upheaval, disruption of the election process, extreme

financial cost, voter disenfranchisement and voter confusion. (Barron Deel., ,I 18).

These outcomes, in tum, would undermine voter confidence in the electoral

process, the integrity of that process, and trust in the governmental entities and

officials who administer the electoral system. Plaintiffs assert that they are seeking

to protect the integrity of the voting system, but the requested relief, haphazardly

being applied to the upcoming election, would have the opposite effect.

      Plaintiffs' claim that immediate conversion of elections to paper ballots can

be accomplished for November's elections "without any new equipment, software,

significant poll worker training, or additional funding." [Doc. 229 at 9] is patently

false. Fulton County has 28 operable and non-sequestered optical scanning (OS)

units available for the November 2018 general election. The OS units are used to

read absentee ballots. To conduct the November 2018 general election via paper

ballots, the County would need approximately 250 OS machines for Election Day

and absentee ballots. Accordingly, Fulton County does not currently have enough

OS units to use for counting all of the ballots expected to be cast in November of


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2018. The cost of procuring and deploying adequate numbers of OS units for the

November 2018 election would carry excessive and unbudgeted cost. It is even

questionable whether enough compatible OS units are available as they are no

longer manufactured. (Barron Deel.,   1 6).
      Fulton County has budgeted $2,536,942.00 for conducting the November

2018 general election.    (Barron Deel.,   1    17). There are no additional funds to

purchase the more than 200 additional OS machines that would be needed.

(Presumably the other 158 Georgia counties would be similarly affected). Further,

use of the OS units in the proposed remedy asserted by Plaintiffs is curious, given

Plaintiffs assertions that the OS machines are supposedly just as unreliable and

susceptible to hacking as the DREs are.

      There would also have to be additional poll worker training.             Fulton

County's procedures for absentee ballots, when there are random marks or illegible

handwriting is to have three staff members assist with providing a legible ballot -

one worker reads the ballot as best they can, one worker marks another ballot, the

third worker verifies that the person marking the ballot has done so consistent with

what has been read.      It is anticipated that a similar process would need to be

employed if paper ballots are encountered that have stray marks or are illegible or

not fully completed. Additional personnel would need to be trained and procedures




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would need to be put in place for dealing with markings on paper ballots that make

the voter's intention ambiguous. (Barron Deel., ,-r 23).

       As it stands now, for the November 2018 general election, it is anticipated

that 2,210 poll workers will be trained in Fulton County. (Barron Deel., ,-r 26).

Online poll worker training will begin on September 10, 2018, and in-person

training will begin on September 26, 2018. (Barron Deel., ,-r 30).

       Additionally, the Fulton County Defendants are already prepanng for

election via DREs. Elections have been called; candidate names and referendums

have been submitted to the counties and are being prepared for submission to the

Secretary of State. (Barron Deel., ,-r,-r 7-10). By the end of this month, electronic

ballots proofs will be submitted and reviewed and the GEMS database will be

submitted for approval.      (Barron Deel., ,-r,-r 11-13). Fulton County anticipates

commencing Logic and Accuracy testing on September 18, 2018 for the November

2018 general election. (Barron Deel., ,-r 4).

      On a motion for preliminary injunction, the plaintiffs bear the burden of

showing that the perceived injury outweighs the damages that the preliminary

injunction might cause to the defendants. Baker v. Buckeye Cellulose Corp., 856

F.2d 167, 169 (11th Cir. 1988). Here, the harm to Defendant is significant. An

injunction would interfere with the County's election processes which are already

being planned and would require Defendants to expend additional taxpayer dollars.


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Plaintiffs make casual assertions that the switch to paper ballots could be quickly

and easily achieved. Again, Plaintiffs ignore the fact that the OS machines that

they assert should be used to provide an audit trail for the paper ballots, have also

been alleged by Plaintiffs to be faulty (Coalition Plaintiffs' Third Amended

Complaint, ,I,I 79-91) and are programmed by the very same system that is alleged

to be susceptible to hacking. (Barron Deel., ,I 5).   Accordingly, it is curious how

the use of this alleged faulty OS equipment would be acceptable for scanning paper

ballots, but is unacceptable as currently used alongside the DREs.

      Plaintiffs' demands are unlike injunctions that would merely require the

State to refrain from implementing a newly-enacted law or requiring the

continuation of a familiar procedure as the status quo pending a decision on the

merits of a new one. Cf. League of Women Voters of North Carolina v. North

Carolina, 769 F.3d 224, 247-48 (4th Cir. 2014) (finding balance of equities leaned

towards plaintiffs because challenged changes to North Carolina's voting laws

involved systems that "have existed, do exist, and simply need to be resurrected"

or "merely require[ d] the revival of previous practices or, however accomplished,

the counting of a relatively small number of ballots"). Instead, Plaintiffs seek an

injunction requiring the State to expend considerable resources to create a new

regulatory framework for every vote Statewide, pass it into law within mere days,




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and have Fulton County and all of the other 158 counties implement it instantly

thereafter.

       No balloting system is perfect. Traditional paper ballots, as became evident

during the 2000 presidential election, are prone to over-votes, under-votes,

"hanging chads," and other mechanical and human errors that may thwart voter

intent. See generally, Bush v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d 388

(2000). Meanwhile, touchscreen voting systems remedy a number of these

problems, albeit at the hypothetical price of vulnerability to programming

"worms." The AVC Edge System does not leave Riverside voters without any

protection from fraud, or any means of verifying votes, or any way to audit or

recount. The unfortunate reality is that the possibility of electoral fraud can never

be completely eliminated, no matter which type of ballot is used.          Hennings v.

Grafton, 523 F.2d 861, 864 (7th Cir.1975). Plaintiffs' speculation that a different

balloting system would eliminate potential third-party interference with voting

ignores reality. Again, no election system is flawless. Weber v. Shelley, 347 F.3d

1 101, 1 106 (9th Cir. 2003) ("The unfortunate reality is that the possibility of

electoral fraud can never be completely eliminated, no matter which type of ballot

is used.") (emphasis in original); Favorito v. Handel, 285 Ga. at 797 (voters do not

have a right to a particular ballot system). Plaintiffs are naive to think paper ballots

do not have tradeoffs and problems, just of different types, gravities and levels of


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 risk.

         "There [is] no guarantee that the [Plaintiffs'] proposed remedy, i.e. the

 implementation of specific security measures and a paper ballot option, would

 [result], in fact, in a 'secure' election." See, ~ Schade v. Maryland Board of

Elections, 930 A.2d 304, 327 (Md. App. 2007) (denying preliminary injunction

against use of DRE machines or use without paper trail, saying "[n]o system is

infallible"). "[I]t is the job of democratically-elected representatives to weigh the

pros and cons of various balloting systems." Favorito, 285 Ga. at 797-798. The

balance of the equities favors shielding the voters from the chaos and disruption of

an injunction so that the State's interest and role in promoting fair and orderly

elections is respected.

         4. Plaintiffs Have Failed to Show that Enjoining the use of the DRE
            Machines Would Serve the Public Interest.

         Plaintiffs' reference to the State of Maryland switching from a DRE-based

voting system to a paper ballot system does not bolster their clams. [Doc. 258 at

23]. The situations are not analogous.        A deeper look into the circumstances

surrounding the State of Maryland's switch to paper ballots demonstrates the

hardship and near impossibility the Defendants in this case would face if required

to switch to a paper ballot voting system before the November 2018 elections.

         The State of Maryland did not switch to a paper ballot system of voting in

one to three months' time. Maryland had been planning to switch to paper ballots
                                         21
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    for nearly a decade. (See Ben Weathers, After Decade Absence, Paper Ballots

    Return      to     Maryland,     Capital     Gazette      (April       25,      2016),

    http://www.capitalgazette.com/news /elections/ph-ac-cn-paper-ballot-returns-0426-

    20160425-story.html)    (Exhibit 2).   It should also be noted that Georgia and

    Maryland are not similarly situated - Georgia has approximately twice the number

    of registered voters and six times as many counties as Maryland.4

          The Maryland legislature voted to go back to paper voting in 2007. (See

    Glynis Kazanjian, Maryland Prepares for Move Back to Paper Ballots,

    Cumberland       Times-News     (November      20,     2013),      http://www.times-

news.com/news/local_news/maryland-prepares-for-move-back-to-paper-

ballots/article_4350732d-0981-5f72-afc2-b30fd668ec83.html)               (Exhibit      3).

Maryland's switch back to paper ballots was delayed in 2010 because of the

enormous cost of the switch. Id. Even when it was finally funded by the legislature

in 2013-2014 at a cost of over $28 million, election officials still had concerns

about the switch, two years before it was required to switch. (See Nate Stewart,

Maryland Switching to Paper Ballots in 2016, Local DVM.com (January 20,




4
  According the Office of the Secretary of State of Georgia, there are 6,176,672
registered voters in the State of Georgia. (www.sos.ga.gov). There are 159
counties in Georgia. According to the Maryland State Board of Elections, there are
3,597,135 registered voters in Maryland. (www.elections.maryland.gov). There
are 24 counties in the State of Maryland.
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2015),     https://www.localdvm.com/news/maryland-switching-to-paper-ballots-in-

2016/l 64953656) (Exhibit 4).

         Any assertion by Plaintiffs in the news media that Maryland accomplished

the switch "two months before the election" is incorrect.      Paper ballots were

already required for Election Day in April 2016, but machines were still going to

be used for early voting to cut down on the number of ballots needed to be printed.

(See Pamela Wood, Maryland Ditches Touch Screen Machines for Early Voting,

The            Baltimore          Sun           (February        4,         2016),

http://www.baltimoresun.com/news/maryland/politics/bs-md-paper-ballots-

20160204-story.html) (Exhibit 5). In February 2016, the Maryland State Board of

Elections voted to also require early voting via paper ballots in 2016 after

candidates threatened to sue. Id. In essence, Maryland elections officials already

had the new system in place and had budgeted $28 million to accomplish the

switch and train workers on the new system. The Maryland State Elections Board

simply ordered that paper ballots should also be used in early voting, which only

required more ballots to be printed. Id.

      In sum, Maryland had 10 years of preparation time and millions of dollars to

make the switch; for a state with half the voters of Georgia. Now Plaintiffs would

have the Court and the public believe that Defendants and the remaining 158

counties in the State of Georgia could accomplish the same feat with less than


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  three months and no money budgeted for such a task.

        Fulton County is the most populous county in the entire state and has a

 significant population of African Am erican voters. Because there is a candidate

 vying to become the nation's first African American woman governor, it is

 expected that Fulton County will see a record turnout.         In order to assist the

 citizenry and to reduce the possibility of Election Day issues, Fulton County has

 steadily increased its early voting program over the last few years. During early

 voting, electors can vote at any of early voting sites. Thus, electors can vote on

 their lunch break, or while running Saturday errands. Electors can plan to vote on a

 day when they have a doctor's appointment, or on a day when they can get a friend

 or family member to take them to the polls. Fulton County anticipates having up

to 24 early voting locations for the 2018 election.        (Barron Decl.,    ,r   20-22).

Nineteen locations have already been confirmed. Locations include senior centers

and college campuses. Early voting is particularly important to minorities, senior

citizens and the poor. These members of the electorate may not have flexibility in

their jobs to take off on Election Day, or may not have reliable transportation.

Others can't risk waiting in line on Election Day because they can't pay childcare

late fees or can't be late to work. (Barron Deel.,   ,r,r 20-22).   For these electors,

being able to cast their vote at numerous locations, on their day off, which could be

a Saturday, provides them an opportunity to be a part of the electorate, rather than


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 being shut out of it. In the 2016 general election, 2260,135 votes were cast during

 early voting.     If an injunction issues against the use of DRE machines in the

 November 2018 election, Fulton County's early voting program will have to be

 drastically reduced. Fulton County has 267 precincts, thus, all early voting sites

 have to have all possible ballot styles for all precincts. In November 2018, Fulton

 County will be conducting elections for 14 referendums, 3 county races, 13

 General Assembly races, 5 Constitutional Amendments and 1 gubernatorial race.

 (Barron Deel.,   ,r 31 ).   Each precinct lies in different districts for the various races

 and thus each ballot style will include a distinct combination of the elections in

which each elector can cast a vote. The electronic provision of the correct ballot

style to each elector that presents for early voting via DRE is easy and literally

requires the push of a button. By contrast, the provision of the correct paper ballot

style to each elector that could present for early voting via paper ballots would be a

difficult task fraught with the possibility of human error. (Barron Deel.,      ,r,r 20-21 ).
The provision of the incorrect ballot style would mean that an elector could cast a

ballot in a race for which he/she is ineligible and would not be able to cast a ballot

in those races where he/she is eligible. The ineligible votes would get stricken, but

the elector would have not had the ability to vote in the correct races. In order to

reduce the possibility of errors of this type, Fulton County would reduce the

number of early voting locations to ensure that its full time staff could maintain


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        Case 1:17-cv-02989-AT Document 267 Filed 08/14/18 Page 26 of 67


 control of the paper ballots so as to reduce the possibility of counterfeit ballots and

 to oversee the provision and collection of paper ballots. The reduction of early

 voting locations will negatively impact elector options and disenfranchise a sizable

 population of minority voters.

       Plaintiffs raise only phantom fears that DREs will be hacked and votes

 miscounted. A theoretical possibility that a voting machine somewhere in the State

 might be susceptible to tampering is outweighed by the State's legitimate interest

 in protecting its elections from the mad scramble that would certainly ensue if the

Plaintiffs' motions were granted.

       Mandating paper ballots by preliminary injunction "ha[s] the potential to

cause voter confusion, particularly when implemented at such a late date in the

election process." Schade, 930 A.2d at 327. It would also force the Defendants to

absorb substantial costs in terms of implementation, education and training. The

Defendants urge the Court "to avoid a disruption of the election process which

might result from requiring precipitate changes that could make unreasonable or

embarrassing demands on a State in adjusting to the requirements of the court's

decree." Reynolds v. Sims, 377 U.S. 533,585 (1964).

      Given the irreparable harm suffered by a state when a court enjoms

implementation of a duly enacted statute, the public resources required to enact

new legislation, and the lack of guidance from Plaintiffs as to what they mean by


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 promulgated "appropriate procedures" [Doc. 258 at 2], or a "plan for administering

those ballots" [Doc. 260 at 2], a preliminary injunction would not be in the public

interest. The public interest can only be served by denying the preliminary

injunction, ruling on the motions to dismiss and preserving the use of the DRE

machines as the operative status quo pending further disposition of the case.

                                  CONCLUSION

       As stated in Southwest Voter Registration Education Project v. Shelley, 344
                th
F3d 9 I 4, 918 (9 Cir. 2003) (en bane) a "federal court cannot lightly interfere with

or enjoin a state election." Accordingly, Fulton County Defendants respectfully

request that the Court deny Plaintiffs' Motions for Preliminary Injunction in their

entirety.

      Respectfully submitted this 14th day of August, 2018.


                                             OFFICE OF THE COUNTY
                                             ATTORNEY

                                             ls/David R. Lowman
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                                        ATTORNEYS FOR
                                        DEFENDANTS RICHARD
                                        BARRON MARY CAROLE
                                        COONEY, VERNETTA
                                        NURIDDIN, DAVID J. BURGE,
                                        STAN MATARAZZO, AARON
                                        JOHNSON, AND THE FULTON
                                        COUNTY BOARD OF
                                        REGISTRATION & ELECTIONS


Office of the County Attorney
141 Pryor Street, S.W.
Suite 4038
Atlanta, Georgia 30303




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the foregoing

FULTON COUNTY DEFENDANTS' RESPONSE TO PLAINTIFFS'

REQUESTS FOR PRELIMINARY INJUNCTION with the Clerk of Court

using the CM/ECF system, with the Clerk of Court using the CM/ECF system,

which will send email notification of such filing to all attorneys of record.

     This 14th day of August, 2018.

                                             /s/ David R. Lowman
                                             Georgia Bar Number: 460298
                                             david.lowman@fultoncountyga.gov




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                EXHIBIT 1
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 DONNA CURLING, et al;                           )
                                                 )
                 Plaintiffs,                     )
                                                 )

 V.                                              j CIVIL ACTION
                                                 ) FILE NO: 1:17cv02989-AT
 BRIAN P. KEMP, et al.;                          )
                                                 )
                                                 )
                Defendants.                      )
                                                 )


                   DECLARATION OF RICHARD BARRON

       Pursuant to 28 U.S.C. 1746, Richard Barron declares as follows:

                                            I.

      I make this Declaration in support of a response by Fulton County Board of

Elections to certain motions filed in the above-styled matter of Donna Curling, et

al., v. Brian Kemp, et al., (Civil Action No. 1: 17-cv-2989-AJ). Specifically, the

purpose of this Declaration is to respond to the allegations in Plaintiffs' Motions for

Preliminary   Injunction       by   providing    the   practical   realities   surrounding

implementation of a paper ballot voting system for the November 2018 general

election and the related December 2018 runoff election.
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                                         2.

       I am the Director of the Fulton County Department of Registration and

Elections and have been employed in that role since June 19, 2013.

                                         3.

       Pursuant to O.C.G.A. §21-2-379 et seq., the November 2018 general

election and if necessary, the related December 2018 runoff election are to be

conducted through the use of Direct Recording Electronic ("DRE") voting

equipment.

                                        4.

      Beginning on September 18, 2018, Fulton County's Department of

Registration and Elections will perform logic and accuracy testing on more than

1300 DRE voting machines to validate the functionality of the equipment and the

accuracy of vote accumulation. This is a prerequisite that must occur on all voting

equipment (including Optical Scan [OS] units) used in an official election. Any

new or additional voting and tabulation equipment introduced will require logic

and accuracy testing as well.

                                        5.

      If as Plaintiffs claim, the DRE system can be hacked, it should be

understood that the GEMS server programs both the DRE and the OS units. If one

could theoretically hack the DRE system, the same hack would affect the OS units


                                        2
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 as well. In fact, Plaintiffs' have requested that the Fulton County Department of

 Registration and Elections sequester a portion of its OS machines because of their

 alleged vulnerability.

                                            6.

        Fulton County has 28 operable and non-sequestered OS units available for

the November 2018 general election. The OS units are used to read absentee

ballots. To conduct the November 2018 general election via paper ballots, the

County would need approximately 250 OS machines for Election Day and

absentee ballots. Accordingly, Fulton County does not currently have enough

optical scanners to use for counting all of the ballots expected to be cast in

November 2018. The cost of procuring and deploying adequate numbers of optical

scanners for the November 2018 election would -carry exorbitant and unbudgeted

cost.   In addition, it is questionable whether compatible equipment is available

since it is no longer manufactured.

                                           7.

        Pursuant to O.C.G.A. §21-2-9 et seq., August 8, 2018 is the final date to call

the Fulton County General and Special elections held in conjunction with the

November 2018 general election.




                                           3
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                                            8.

        Pursuant to O.C.G.A. §21-2-9 et seq., August 10, 2018 is the final date to

 submit municipal public notice, resolutions and call the special elections held in

 conjunction with the November 2018 general election.

                                         9.

       Pursuant to 0.C.G.A. §21-2-9 et seq., August 14, 2018 is the final date to

submit candidate names,       offices and referendum titles to the county

superintendents for the special elections held in conjunction with the November

2018 general election.

                                        10.

       Pursuant to O.C.G.A. §21-2-9 et seq., August 16, 2018 is the final date to

submit candidate and referendum information to the Secretary of State for special

elections held in conjunction with the November 2018 general election.

                                        11.

       Pursuant to O.C.G.A. §21-2-9 et seq., August 23, 2018 is the final date to

receive ballot proofs from the Secretary of State for the November 2018 general

election.




                                        4
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                                        12.

        Pursuant to O.C.G.A. §21-2-9 et seq., August 24, 2018 is the final date to

 conduct concurrent review of ballot proofs from the Secretary of State for the

 November 2018 general election.

                                        13.

       Pursuant to O.C.G.A. §21-2-9 et seq., August 28, 2018 is the final date to

 submit the approved GEMS database to the Secretary of State for the November

2018 general election.

                                        14.

       Depending on when the Secretary of State finalizes the County's GEMS

database, ballot images and     transmits them to the County for proofing and

approval; the County anticipates commencing Logic and Accuracy testing on

September 18, 2018 for the November 2018 general election.

                                       15.

       On September 22, 2018 absentee voting will commence for the November

2018 general election, with the mailing of absentee ballots. Absentee ballots are

paper ballots.

                                       16.

      The Fulton County Department of Registration and Elections will begin

conducting early voting poll worker training for the November 2018 general


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 election during the period of October 15, 2018 through November 2, 2018. Each

 poll worker is expected to attend 2-3 classes each. Approximately 175 advance

 voting poll workers will be trained. More than 2000 Election Day poll workers

 will be trained. If the Court enjoins the use of DRE machines, Fulton County

 would have to rewrite early voting and Election Day procedures manuals and

 retrain early voting and Election Day poll workers as paper ballots have not been

 used in a Georgia election since 1964.

                                           17.

       The Fulton County Department of Registration and Elections has budgeted

$2,536,942.00 for the November 2018 general election. These costs were based

on using DRE machines. If the Court restrains the use of DRE machines, paper

ballots would have to be ordered, additional staff would have to be hired and

additional optical scanning machines would have to be purchased. Approximately

125 ballot boxes would have to be purchased for Election Day.             There is no

additional money in the Fulton County Department of Registration and Elections

budget to cover the additional costs that a paper ballot election would require.

                                          18.

      Requiring the Defendants to implement a paper ballot voting system would

cause administrative upheaval, financial crisis and voter confusion.        Confusion

would result from being required to have all ballot types at every early voting site.


                                          6
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                                           19.

       O.C.G.A. § 21-2-385(d)(l)(C) requires a period of advance voting be

 provided. Early voting for the November 2018 election in Fulton County will run

 from October 15, 2018 until November 2, 2018. In order for early voting to occur,

 Fulton County election officials would have to rewrite election procedures, retrain

 poll workers, order paper ballots and ballot boxes for the early voting locations,

 and distribute the paper ballots and ballot boxes to each early voting location.

                                          20.

       During early voting, a voter can go to any site to vote, this is the advantage

of participating in early voting.    A voter may go to the location nearest one's

employment, or on the weekend to cast their vote. This means that during early

voting, each and every ballot style has to be present at every location.            The

provision of all of the ballot styles for multiple early voting sites would produce

an administrative nightmare, that would be susceptible to human error and

intentional misconduct. In order to facilitate advance voting via paper ballot, there

would have to be folders of all of the 377 precincts with paper ballots in them at

every location. Poll workers would have to locate and retrieve the correct paper

ballot from the correct folder for each voter and then return it to the correct ballot

box. The potential for error is great and the expense in the provision of sufficient

paper ballots would be tremendous. Even though poll worker training, checklists


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 and procedures would be put in place to minimize confusion and to reduce the

 potential for human error and voter frustration; the number of early voting sites

 would have to be drastically reduced.

                                          21.

        In order to ensure that counterfeit ballots are not utilized, that the ballot

 boxes are properly secured, and that the casting of early voting ballots of 377

precincts is properly facilitated, I would need my for my full-time staff to be

available to oversee advance voting. Therefore, if Fulton County is required to go

to a paper ballot voting system, early voting would be reduced to one location, the

Fulton County Government Center.

                                          22.

      Fulton County's advance voting program has come to be a staple in Fulton

County's elections. Fulton County has a large number of voters and we generally

provide close to 20 early voting sites for our electors. Some of our early voting

sites are located near or in college campuses and senior centers. Currently, Fulton

County has confirmed nineteen early voting sites for the November 2018 elections

and we are actively working to secure five more sites. I believe that any reduction

in advance voting sites is likely to impact voter turnout and lead to voter alienation.

However, it is in the best interests of the County's citizens to guard against the




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        Case 1:17-cv-02989-AT Document 267 Filed 08/14/18 Page 39 of 67


 administrative turmoil, confusion and voter disenfranchisement that would result if

 19-25 locations each attempted to provide paper ballots for 377 precincts.

                                            23.

       Our current procedures for absentee ballots, when there are random marks or

 illegible handwriting, is to have 3 staff members assist with providing a legible

 ballot. One person reads the ballot to the best of their ability, one person marks

 another ballot, the third person verifies that the person marking the ballot has done

so consistent with what has been read.         It is anticipated that a similar process

would need to be employed if paper ballots are encountered that have stray marks

or are illegible or not fully completed. Additional personnel would need to be

trained and procedures would need to be put in place for dealing with markings on

paper ballots that make the voter's intention ambiguous.

                                         24.

      As of August 1, 2018, there are 749,517 registered voters in Fulton County.

                                         25.

      In the November 2016 general election, 260,135 voters utilized early voting

in Fulton County.

                                         26.

      For the November 2018 general election, it is anticipated that 2,210 poll

workers will be trained in Fulton County.


                                          9
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                                            27.

         Any reduction in early voting locations will likely result in long lines at the

 remaining early voting sites and on Election Day. Long lines could also result in

 chilling voter turnout both during early voting and on election day.

                                           28.

        Long lines usually result in voting locations not closing on time, because

persons in line at the time of poll closure are all allowed to vote, thus it takes a

 longer time to close the polls and to begin tabulation. Delays in vote tabulation

will result in delays in results being reported.

                                           29.

        Fulton County currently has 103 temporary staff for election support and

anticipates hiring 210 staff for early voting.

                                          30.

        For the November 2018 general election, online poll worker training will

begin on September 10, 2018, and in-person training will begin on September 26,

2018.

                                          31.

        In the 2016 general election, 260,135 votes were cast during early voting. If

an injunction issues against the use of DRE machines in the November 2018

election, Fulton County's early voting program will have to be drastically reduced.


                                          10
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Fulton County has 267 precincts, thus, all early voting sites have to have all

possible ballot styles for all precincts. In November 2018, Fulton County will be

conducting elections for 14 referendums, 3 county races, 13 general assembly

races, 5 constitutional amendments and 1 gubernatorial race.

                                         32.

      I declare under penalty of perjury that the foregoing is true and correct to the

best of my ability.


                                               ,,!I-~
                                       This~ day of August, 2018.




                                      Richard Barro   ire tor
                                      Fulton County e     ment of Registration
                                      and Elections




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                EXHIBIT 2
 After decade
          Caseabsence,   paper ballots
               1:17-cv-02989-AT        return
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                                                 Maryland
                                                      08/14/18- Capital... Page 1 of 2
                                                                Page 43 of 67



 After decade absence, paper ballots return to Maryland




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         or the first time in more thnn a decade, Anne Arundel voters will cast their votes on a paper ballot during Tuesday's Democratic and Republican Presidential
F        Primary Elections.

As of Monday afternoon, some 2,600 election judges were gearing up for Tuesday's primaries. There will be 178 polling locations throughout the county, said Joe Torre,
the election director for the Anne Arundel County Board of Elections.

In addition to election judges out in the field, around another go people will be at the State Boord of Elections headquarters on Baymcadow Drive in Glen Burnie working
as "field support," Torre said.

Torre predicted that 45 percent-to-so percent oft he county's some 287,000 registered Republicans and Democrats would cast ballots on Tuesday.

"It's on the news every night - we think people arc excited," Torre said.

Maryland has "closed" primary elections, meaning that only registered Republicans and Democrats may cast their votes - registered Independents arc excluded.

111e state used paper ballots until 2004, when it switched over to Diebold touch screen voting machines, Torre said.

111c switch back to paper ballots is almost n decade in the making.

ln 2007, the General Assembly passed legislation advocating for a verifiable paper trail in elections, necessitating the purchase of machines that collect paper ballots, in
addition to tallying votes. However, funding for the new system was not included in the state budget until 2014, according to the State Board of Elections website.




http://www.capitalgazette.com/news/elections/ph-ac-cn-paper-ba... 8/13/2018
After decade
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Upon checking into their respective polling places, check-in judges will issue voters their "voter authority cards." Then they will go to the ballot judges, who will issue a
ballot and privacy sleeve, Torre said.

111ey will then take their ballot to a privacy booth where they will fill in their choices. After that, they will take their vote in its privacy sleeve to a scanning unit.

Voters "ill then feed the ballot into the unit, which will then read the ballot and deposit it into a secure ballot box, Torre said.

rf a voter "made a mis-mark" or "over-voted," the machine will return the ballot. Election judges will then void the ballot and issue voters a new one, Torre said

"But most (voters) fill out the ballots correctly- it's not a difficult system," Torre said.

Polls officially close at 8 p.111. Though, Torre stressed that those waiting in line when the polls close will have a chance to vote.

After all the ballots have been deposited into the machines, the memory cards and ballots will be taken back to the Board of Elections headquarters. From there, the
memory cards containing the vote calculations will be uploaded to the state's server, Torre said.

"Usually things start rolling in around 9 p.m. and we hope to be out of here around midnight: Torre said.

At least one candidate plans on spending election night in the county. Kathy Szclign, a Republican from Baltimore County, running to represent Maryland's 3rd District
in the U.S. Senate will hold an election night party at the OW! Marriott, at 1743 W. Nursery Road in Linthicum. The event is open to the public and begins at 8:30 p.m.,
Szeliga's communications director, Leslie Shedd said.

Szclign is scheduled to appear earlier in the afternoon at Solley Elementary School, at 7608 Solley Road in Glen Burnie.

Chris Van Hollen, a Democratic also running to represent Maryland's 3rd District in the U.S. Senate, spent Sunday afternoon in downtown Annapolis meeting with local
business owners and voters.

www.twitter.com/Henw _M OGa,ettc

Cast your vote: Polls open at 7 a.m., close at 8 p.m.




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                EXHIBIT 3
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Maryland prepares for move back to paper ballots
  • Glynis Kazanjian
    MarylandReporter.com
  • Nov 20, 2013


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ANNAPOLIS - Local election officials are already expressing uncertainty about what could go wrong when the state
switches from an electronic voling system to using paper ballots in the next two years.

By the 2016 presidential elections the state will replace touch-screen machines and make a fundamental shift to the
way voters cast ballots.

"This is a big transition for us," said Montgomery County Board of Elections Deputy Director Alysoun McLaughlin.
"Everything from set up, to warehouses, to the voting experience is based around touch screen (voting) machines."




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Mclaughlin attended a demonstration last week in Baltimore where Dominion Voting Systems showcased a paper
ballot scanning unit to local elections officials that the state will consider purchasing for use in 2016.

State officials are considering using an average of one or two optical scan machines per precinct. Dominion
estimates it will take a voter five seconds to feed their ballot into the machine, but election officials foresee various
reasons for it taking longer.

Marylanders primarily vote on touch-screen machines. In 2007, legislation was passed requiring the state election
system to produce a voter verifiable paper record for each vote cast in an election. Lack of funding delayed the
switch until now.


Election officials resisted the move because they were convinced of the integrity of the computerized voting, despite
its lack of a paper trail. Paper ballots lead to more inaccurate and miscast votes which touch-screen voting does not
permit, they said.

Several election officials that attended last week's demonstration were wary about taking on a new statewide voting
system. Concerns ranged from potential long lines at the polls to problems with producing multiple versions of paper
ballots or not having enough time to test the new system before it goes live.

State election officials would not provide an estimate of the cost to transition the state to the new paper voling
system. Instead, the state board referred to a 2010 study conducted for the state by RTI International, which
estimated that initial implementation would cost approximately $37 million.

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THIS WEEK'S CIRCULARS

OBITUARIES
  •   COLEMAN, Shirley Jun 24, 1935 -Aug 12, 2018
  •   SUESS, Richard Nov 4. 1938 -Aug 10. 2018
  •   "JERRY" FISH, Randall Jan 14, 1945 - Aug 11, 2018
  •   BLANK John Oct 27, 1959 - Aug 10, 2018
  •   SAUER. Thomas Feb 15, 1938 - Aug 81 2018

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  •   Developer: Over half of units leased at Footer building
  •   More charges for jailed Cresaptown man
  •   City man sentenced to 30-year prison term for robberies
  •   Study finds more than 500 neglected properties
  •   Cumberland man arrested in South End barricade incident
  •   Spontaneous combustion cause of Frostburg fire

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News

Maryland Switching to Paper Ballots in 2016

By:
NATE STE WA RT (https://www.localdvm.com/meet-the-team/nate-stewart/1359162 43)
 ~ (mailto:nate.stewart@wearegreenbay.com)
Updated: Jan 20, 2015 06:45 PM EST




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9Hagerstown, MarY.land -
HAGERSTOWN, Md. - Maryland voters will say goodbye to electronic-based voting systems in 2016, and they'll
welcome back the paper-based voting system.

In 2007, the Maryland General Assembly decided unanimously to bring back the paper ballots, after voters complained
about not having a verifiable paper trail.

"There was no way to go back and have a recount that actually showed the votes of the voters," said Sharon Mackereth,
deputy director with the Washington County Board of Elections.

The state spent $65 million in 2002 for the electronic voting system, and for the past couple of years, there was not
enough money in the budget to switch over to paper-based voting.

"The numbers we are getting from the state is that this new voting system will cost $28.1 million," Mackereth said. "That
will be split, half and half, between the state and all of the counties in Maryland."

Washington County will also have to find a larger warehouse to store the new equipment.
    "The old equipment from the touch screens - the state will take those away and store them in a warehouse in Annapolis
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    until after 2016, when we can say we no longer need them," Mackereth added.


    Officials said they had no issues with the touch-based voting system in Washington County throughout the years that
    they used them. They also expect a high voter turnout next year.


    "2016 is presidential elections, and historically, we get a larger turnout for presidential elections," Mackereth said.


    The touch screens will not be completely taken away - voters with disabilities will still have access to them when they

    cast their ballots.


    Washington County will receive 65 new precinct scanners and tabulators, one for each precinct in the county.



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Maryland ditches touch screen machines for
early voting




This is a mock-lip of the type of ballots voters will use during early voting and election day voling in the April 2016 primary
election. Voters will mark their choices and then feed the ballot into a scanner machine that will keep the paper. (Pamela
Wood / The Baltimore Sun)




  ]~            , By Pamela Wood
  ~) The Baltimore Sun




      SHARE THIS
                               Maryland may explore ditching touch screen voting machines in favor of paper
     f           ~             ballots.



FEBRUARY 4, 2016. 8:20 PM


          arly voters in April's primary will cast their ballots on paper that will be scanned by a machine
E        ppoi-,~Nlilft.~~tAAlisJ.Wters will - after Marvland elections officials on Thursday nixed the
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The change was made after elections officials said they realized that many primary contests will
feature long lists of candidates that can't fit on one screen, and some candidates threatened legal
action for being stuck on a second or third screen.

"The fairest, most viable and reasonable solution is paper ballots," said Patrick J. Hogan, a former
state senator who is vice chairman of the Maryland State Board of Elections. Board members voted
5-0 in favor of the switch to paper ballots for early voting.

Each early voting location will have at least one touch screen machine available for voters with
disabilities who cannot vote with the paper ballot. Judges will need to be trained to alert them to the
issues with races that have multiple screens of candidates, officials said.

The state's touch screen machines - which are different from ones used in recent elections - can fit
seven candidates on a screen. At least half-a-dozen races in the primary feature more candidates than
that, including the 12 Republican nominees for president and 13 Democrats vying for mayor of
Baltimore.

State elections administrator Linda H. Lamone said the decision to switch to paper was made after
realizing the touch-screen navigational tools were not user-friendly for voters making decisions in
races with multiple screens' worth of candidates.

"We didn't realize how unintuitive the navigation tools were," Lamone said.

The issue first came up in Rockville's city elections last yea!'. And Anne Arundel County Circuit Court
Judge Cathleen M. Vitale, who will be up for election this year, raised concerns at a Jan. 21 elections
board meeting, according to the meeting minutes. Vitale did not respond to a request for comment.

In recent weeks, some candidates have suggested they may pursue legal action if the touch-screen
machines were used.

"We got some not so subtle threats about litigation from candidates who would be on the second
page," Lamone said.

As recently as last week, however, Lamone said publicly that elections officials and machine
manufacturer Election Systems & Software had devised a fix and were ready to go forward with them
fol' early voting.

During a briefing for lawmakers last Friday, elections officials set up a touch screen machine with
moSki~Jlmti~d.tmmmia;.mch as "s',-~~~pic sports" and "favorite Maryland symbols." For
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elections with more than seven choices, a "more" button blinked at the bottom and the voter was
prevented from voting for the race until viewing all of the candidates.

"We have corrected that going forward," Lamone told lawmakers at the time.

But before Thursday's vote to switch to paper, Lamone explained that voters could get tangled in the
"more" and "previous" buttons, accidentally going back to a prior contest instead of a prior page of
candidates.

Switching to paper ballots for early voting - which runs from April 14 through April 21 at 66
locations across the state - will require adjustments by state and local elections workers.

More ballots will have to be printed and distributed to early voting centers. The total cost of printing
extra paper ballots has not yet been determined, though they are about 21 cents each.

Some jurisdictions will face a logistical challenge in dealing with stocking dozens of types of paper
ballots at the early voting centers.

In Baltimore, for example, there are dozens of combinations of City Council districts and
Congressional districts, which means there could be as many as 84 types of ballots, depending on
where a voter lives and what their party is, said Armstead B.C. Jones, the city's elections director.
Because a Baltimore voter can vote at any of the city's six early voting centers, each center must have
all 84 ballots available. Election judges will have to make sure they give each voter the proper ballot.

Prince George's County also will have dozens of ballot styles, but most counties will have fewer than a
dozen.

Jones said he'll have to find the money and the staff to pull off the switch to paper ballots. "We suck it
up and we get it done. Whatever comes up, that's what we do. We have to get to the end product,
which is the end of the election," he said.

Local elections offices pay for the election judges, while the cost of printing ballots is split between
the state and the local elections offices.

But state elections officials said Thursday they don't think it will be too hard for local elections staff to
make the switch to paper for early voting. After all, they're already being trained to handle paper
ballots for election day on April 26, Hogan said. The switch "shouldn't be a bigger deal than it really
is," he said.
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The voting machines were preferred for early voting because they can store all the various ballot
styles, which is more convenient than printing out and keeping organized so many paper ballots. For
election day voting, each polling location will need to have just two ballot styles on hand - one for
Democrats and one for Republicans.

Del. Kathy Szeliga, who is running in the Republican primary for the U.S. Senate, is keenly aware of
the challenges of having a name at the end of the ballot, no matter what type of voting system is used.

"It's certainly a challenge that every election, anybody with a last name at the end of the alphabet
faces," she said.

Szeliga was slated to be listed rzth among the 14 candidates in her race on the voting machines.

David Warnock, who would have appeared nth out of 13 Democratic candidates for Baltimore's
mayor, was not terribly concerned about the issue.

The job of candidates is to prove they are qualified and that remains the same "whether you are on
the bottom of a paper ballot or on the second screen" of a machine, said Anastasia Apa, Warnock's
campaign manager.

During the 2014 elections, 19.1 percent of primary voters cast ballots during early voting and 17.6
percent of voters during the general election cast ballots during early voting.

The primary election day is April 26. Early voting is scheduled to run from April 14 through April 21.

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            IN THE SUPERIOR COURT OF FULTON COUNTY
                        STATE OF GEORGIA

DONNA CURLING, et al.                )
                                     )
            Plain tiffs,             )
                                     )      CIVIL ACTION FILE
v.                                   )      NO. 2017CV290630
                                     )
BRIAN P. KEMP, in his official       )
capacity as Secretary of State of    )
Georgia, et al.                      )
                                     )
            Defendants.              )

     ORDER DENYING PLAINTIFFS' MOTION FOR TEMPORARY
     RESTRAINING ORDER AND INTERLOCUTORY INJUNCTION
                AND FOR WRIT OF MANDAMUS

      Plaintiffs' Emergency Motion for Temporary Restraining Order and

Interlocutory Tnjunction ("Emergency Motion") filed on May 26, 2017 - on the

eve of advance voting in the State of Georgia's Sixth Congressional District Run-

Off Election - came before the Court for hearing and oral argument on June 7,

2017 following statutory notice to the State of Georgia. Attorneys Robert McGuire

(pro hac vice) and Edward Krugman appeared on behalf of Plaintiffs; Attorneys

Christina Correia and Josiah Heidt appeared on behalf of Defendant Brian Kemp,

Georgia Secretary of State; Attorney Kaye Burrell appeared on behalf of

Defendant Richard Barron, Director of the Fulton County Board of Elections;

Attorney Bennett Bryan appeared on behalf of Defendant Maxine Daniels, Director

of Voter Registrations and Elections for Dekalb County; and Attorney Daniel
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 White appeared on behalf of Defendant Janine Eveler, Director of the Cobb

 County Board of Elections and Registration. All of the defendants were sued in

 their respective official capacities.

       In their    Emergency      Motion, Plaintiffs, a Colorado-based       non-profit

 organization with members in Georgia's Sixth Congressional District, seek an

 Order from this Court to restrain and enjoin Defendants from using the Direct

Recording Electronic ("DRE") voting equipment and its related DRE-based voting

system to conduct the June 20, 2017 run-off election for the 2017 Sixth

Congressional District Special Election in Cobb, Dekalb and Fulton counties.

More particularly, Plaintiffs assert that Georgia's DRE            voting system is

uncertifiable, unsafe and inaccurate such that Defendants should be required to

comply with O.C.G.A. §§ 21-2-334 and 21-2-281 and use paper ballots for hand

counting in the manner proscribed under the laws of the State of Georgia. Having

considered the issues presented in the parties' motions and supporting briefs,

evidence, argument of counsel and applicable authority, Plaintiffs' Emergency

Motion for Temporary Restraining Order and Interlocutory Injunction is hereby

DENIED for the reasons explained below.

      Plaintiffs assert their claim for injunctive relief applies only to the Defendant

Counties. However, inasmuch as the Secretary of State is statutorily conferred

with the authority to determine the voting equipment that will be used throughout


                                         Page 2 of9
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the State of Georgia, the claim for injunctive relief is necessarily asserted against

Defendant Secretary of State as the relief Plaintiffs seek rests exclusively within

his control. Even still, because the individually-named Defendants have been sued

in their official capacities, the doctrine of sovereign immunity applies. Cameron v.

Lang, 274 Ga. 122 ( 2001 ).       Sovereign immunity also extends to the County

Defendants. Butler v. Dawson Co., 238 Ga. App. 808, 809 (J 999). As such, any

state law claims against the Defendants are covered under the sovereign immunity

doctrine unless there is some waiver of immunity. Plaintiffs have failed to identify

any such waiver.

      Plaintiffs asserted for the first ti me during the Emergency Hearing that their

claims were based, in part, on the United States Constitution at 42 USC § 1983

authorizing their claims to be brought against state officers and employees in their

official capacities where plaintiffs allege a violation of federal rights based on

action taken under the co lot of law as follows:

            Every person who, under color of any statute, ordinance,
            regulation, custom, or usage, of any State or Territory or
            the District of Columbia, subjects, or causes to be
            subjected, any citizen of the United States or other person
            within the jurisdiction thereof to the deprivation of any
            rights, privileges, or immunities secured by the
            Constitution and laws, shall be liable to the party injured
            in an action at law, suit in equity, or other proper
            proceeding for redress, except that in any action brought
            against a judicial officer for an act or omission taken in

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             such officer's judicial capacity, injunctive relief shall not
             be granted unless a declaratory decree was violated or
             declaratory relief was unavailable. For the purposes of
             this section, any Act of Congress applicable exclusively
             to the District of Columbia shall be considered to be a
             statute of the District of Columbia.

 42 USC § 1983.     Although such claims could be properly brought before this

 Court, in this instance Plaintiffs have failed to make such a pleading.     As such

there are no federal claims before this Court, and any state law causes of action

would be subject to qualified immunity and must be DISMISSED. Moroever,

because sovereign immunity applies, Plaintiffs are barred from injunctive relief at

common law on any state law claims. Ga. Dept. of Nat'l. Resources, et. al v.

Center for Sustainable Coast, 294 Ga. 593 (2014).

       Even if Plaintiffs' claims were not barred by sovereign immunity, Plaintiffs

request for an interlocutory injunction must fail because Plaintiffs cannot satisfy

the elements for such a remedy. It is well settled that the issuance of an injunction

is an extraordinary remedy that should be reserved for "clear and urgent cases."

OC.G.A. § 9-5-8 (emphasis added). Courts have been cautioned to exercise this

power "prudently and cautiously." Id. In considering whether to exercise the

JJOWer to grant this extraordinary remedy, the Court must consider the following

factors:




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               ( 1) there is a substantial threat that the moving party wiJI
                    suffer irreparable injury if the injunction is not
                    granted; (2) the threatened injury to the moving party
                    outweighs the threatened harm that the injunction
                    may do to the party being enjoined; (3) there is a
                  substantial likelihood that the moving party will
                  prevail on the merits of [their] claims at trial; and (4)
                  granting the interlocutory injunction will not disserve
                  the public interest.

 Holton v. Physician Oncology Servs. LP, 292 Ga. 864, 866, (2013).

        As to the first factor, while the Court is keenly aware and appreciates the

heightened concern surrounding voting security in the State of Georgia and

nationally taken together with troubling allegations of election interference, this

Court is constrained by the law and the evidence presented in this case.

Additionally, Plaintiffs' concern that the DRE voting system lacks a verification

feature is legitimate. However, in the absence of evidence (e.g., voter testimony,

malfunction, unexplained deviations, skewed results, historical data, national

research, etc.), this Court cannot adopt Plaintiffs' conclusion that Georgia's DRE

voting equipment and its related voting system are unsafe, inaccurate and

impracticable within the meaning of the statute.            Plaintiffs have failed to

demonstrate any concrete harm.        Accordingly, the fir..st factor militates against

Plaintiffs.

       Moving to the second and fourth factors, the Court finds that these factors

also militate against Plaintiffs.   Advance voting in the Special Election Sixth

                                         Pngc 5 of 9
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 Congressional Run-Off commenced on May 26, 2017. Evidence presented during

 the hearing showed that requiring Defendants to halt the Special EJection in order

 to substitute DRE machines with paper ballot in the middle this election would be

 costly    and   could   potentially   create   voter   confusion   and   possible   voter

disenfranchisement in an ongoing election. These outcomes wouJd necessarily

undermine voter trust and confidence in the electoral process and the integrity of

Georgia's elections and disserve the public interest. Further evidence showed that

visually-impaired and other disabled voters would not have equal access to the

ballot.     The testimony further showed that election officials, including many

volunteer poll officers and workers, are only trained to conduct eJections using the

method certified by the Secretary of State and, as such, would need to be re-trained

on both the administration and tabulation of paper ballots which could have the

unintended consequence of creating both security and accuracy concerns. As such,

the Court finds that both the second and fourth factors favor Defendants.

      As to the third factor, assuming arguendo that the claims survive sovereign

immunity, the Georgia Supreme Court found in Favorito v. Handel, that so long as

the voting method used - DRE machines in that case - was reasonable and neutral,

that method would be free from second-guessing. 285 Ga. 795, 798 (2009). Based

on precedent and the dearth of non-speculative evidence presented by Plaintiffs at




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 the hearing on the Emergency Motion, the Court finds that there is little likelihood

of success on the merits.

       Finally, Defendants jointly assert a valid laches argument. Laches applies to

a request for equitable relief when: (1) there was a delay in asserting the claim; (2)

the delay was not excusable; and (3) the delay caused the non-moving party undue

prejudice. United States v. Barfield, 396 F.3cl 1144, 1150 (11th Cir. 2005). Here,

evidence shows the Plaintiffs was aware of the factors giving rise to the Verified

Complaint and Emergency Motion on April 18, 2017, if not sooner.            Plaintiffs

knew that Advance Voting for the June 20, 2017 Special Run-off Election

commenced on May 30, 2017. Plaintiffs were aware of alleged system errors that

occurred during the April J 8, 20 I 7 Special Election tabulation in Fulton County.

Plaintiffs were aware of a March 15, 2017 inquiry being forwarded to the Georgia

Secretary of State regarding concerns with DRE machines. Despite all of this

knowledge, however, Plaintiffs filed suit one· ( 1) business day before advance

voting commenced. This delay taken together with an intervening holiday and the

statutory notice to which the State of Georgia is entitled prevented this matter from

being considered by the Court prior to the start of Advance Voting. Plaintiffs'

delay in asserting the claim has prejudiced Defendants.




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       It cannot be argued in a democracy that the right to vote is fundamental,

Concomitant with that right is the assurance that the ballot cast reflects the choices

of the elector. As the Favorito Court pointed out:

             The unfortunate reality is that the possibility of electoral
             fraud can never be completely eliminated; no matter
             which type of ballot is used. [Citation omitted.] [Even
             assuming that] none of the advantages of touch-screen
             systems over traditional methods would be sacrificed if
             voter-verified paper ballots were added to touchscreen
             systems . . . , it is the job of democratically-elected
             representatives to weigh the pros and cons of various
             balloting systems. [Citation omitted.] So long as their
             choice is reasonable and neutral, it is free from judicial
             second-guessing.

Favorito, 684 S.E.2d 257, 261.

      Accordingly, for the reasons discussed above, the Court finds that

Defendants are entitled to sovereign immunity from any claim for injunctive and

declaratory relief.   The Court further finds that the harm to the public would

greatly outweigh the issuance of an injunction upon a consideration of the

applicable factors and in conjunction with Defendants' laches arguments.          For

similar reasons, the Court still further finds that Plaintiffs' Request for a Writ of

Mandamus must necessarily fail. Accordingly, Plaintiffs' Emergency Motion is

hereby DENIED and the Complaint is hereby DISMISSED.




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      This 9111 day of June 2017.




                         H ~~U,JILE             R   M. ESMOND ADAMS
                          SUPERIOR C URT OF FULTON COUNTY
                          ATLANTA JUDICIAL CIRCUIT




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